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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 HOMEVESTORS OF AMERICA, INC.,                  §
     Plaintiff,                                 §   Case No.: 1:24-MC-01344-DII
                                                §   Underlying Litigation
 v.                                             §   C.A. No. 22-1583-RGA
                                                §   United States District Court
 WARNER BROS. DISCOVERY, INC.,                  §   For the District of Delaware
     Defendant.                                 §

  REPLY IN SUPPORT OF OPPOSED MOTION TO COMPEL COMPLIANCE WITH
              RULE 45 SUBPOENA TO CALISE PARTNERS, LLC

       Warner Bros. Discovery, Inc. files this reply in support of its Motion to Compel

Compliance with Rule 45 Subpoena to Calise Partners, LLC (the “Motion”) and would respectfully

show the Court as follows:

                                             REPLY

       Calise Partners, LLC’s (“Calise”) opposition is misleading in multiple respects. First,

Calise’s claim that “WBD failed to meet and confer with Calise Partners regarding its motion

before filing it” is not accurate.   Second, although Plaintiff HomeVestors of America, Inc.

(“HomeVestors”) has provided some documents responsive to some of WBD’s requests to Calise,

recent deposition testimony revealed not only that responsive internal Calise communications exist

but that they are highly relevant to this dispute. These are the documents WBD seeks in the

Motion. They have never been produced.

       Calise’s internal documents and communications about HomeVestors, including those

pertaining to its brand strategy and marketing plan, are probative of whether there is a likelihood

of confusion between HomeVestors’ real estate services and WBD’s television series. Since Calise

acted as HomeVestors’ in-house marketing department for over a decade, Calise holds unique

insights into the marketing efforts around HomeVestors’ brand, and these documents are critical to


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WBD’s defenses to HomeVestors’ infringement claims. Indeed, the party discovery that WBD

obtained to date has only underscored the importance of Calise’s internal documents to this

litigation and have made this motion more, not less, necessary. Because these documents are

critical to the resolution of the litigation and not available from any other source, Calise should be

compelled to produce them.

                                          ARGUMENTS

    I. WBD Met with Calise in Good Faith.

       Calise’s accusation that WBD failed to meet and confer in advance of filing its motion is

simply false. WBD’s counsel met with Calise’s prior-counsel, Steven Callahan, before filing its

motion. (See Dkt. 1 at 3-4.1) Over the course of multiple meetings, the parties attempted to

negotiate a set of document custodians from which to collect documents from and a set of search

terms to help narrow the universe of potentially responsive documents. However, in the course of

that meet and confer process, Calise steadfastly refused to agree to even collect and review

documents from its CEO and founder, Charlie Calise.2 Calise ultimately refused to produce any

emails or other internal documents whatsoever, and Mr. Callahan unambiguously stated that

“Calise will not be producing any e-mails or further documents in response to WBD’s subpoena.”

Id. at In light of this refusal, the parties were at an impasse, and WBD was forced to bring the

instant motion. Mr. Callahan accepted service and set a briefing schedule. See Ex. 5. Calise has

since acquired new counsel, Holland & Knight, who has long represented Plaintiff HomeVestors

and now represents Calise in connection with WBD’s motion. (Dkt. 7-2 at 4.) Holland & Knight

may not be aware, but WBD and Calise met and conferred fully.


1
 All docket citations are to the ECF page number.
2
  Despite protesting that Mr. Calise would not have had responsive documents, Mr. Calise was
ultimately designated as a Rule 30(b)(6) witness for HomeVestors. During his deposition, he
confirmed that he had responsive documents that had never been produced.


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       Calise has made no serious effort to compromise or change its position since retaining new

counsel. While WBD was not required to restart its meet-and-confer efforts, WBD agreed to meet

and confer further with Calise’s new counsel, and explained in an email exchange the type of

documents it sought by way of the motion. (Dkt. 7-2 at 3.) After receiving this explanation,

Calise’s new counsel cancelled a scheduled meet and confer because it would be, in Calise’s

counsel’s words, not “productive.” (Id.) WBD has done everything it could to avoid the need for

this motion; it is Calise that has refused to compromise its position.

       In its opposition, Calise claims that HomeVestors has already provided WBD with

documents in response to Request Numbers 1-7 and 9, and that it has no documents responsive to

Request Number 8. (Dkt. 7 at 5.) HomeVestors has produced some Calise documents showing

HomeVestors’ advertisements (most of which are duplicates and triplicates), compilations of links

to publicly available articles about HomeVestors, and a limited set of external communications

between Calise and HomeVestors’ executives. But HomeVestors has not produced any internal

emails within Calise discussing HomeVestors’ marketing efforts and strategy or the efficacy and

results of those efforts. It is these internal documents that WBD seeks by way of this motion, and

Calise has steadfastly refused to search for and produce any such documents throughout the meet

and confer process. (See Dkt. 7-2 at 2–4.)

   II. The Requested Documents Exist.

       Calise now claims that it lacks documents responsive to Request Number 8 (which calls

for documents and communications relating to internal marketing plans or strategy developed by

Calise relating to HomeVestors), but that cannot be, and is not, accurate.

       Calise served as HomeVestors internal marketing department for the last 14 years. Calise’s

founder, Charlie Calise, was designated by HomeVestors as a Rule 30(b)(6) corporate designee to

testify about HomeVestors’ marketing efforts, among several other topics. At that deposition, Mr.


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Calise identified both specific documents, and general categories of communications containing

relevant information responsive to Request Number 8. See Ex. 1, Dep. Tr. of Charlie Calise 23:15–

24:3, 144:11–146:6.     When WBD questioned Mr. Calise about the substance of specific

communications between himself and other Calise employees, Plaintiff’s counsel repeatedly

objected and instructed Mr. Calise not to answer, see id. 27:1–29:19, 147:19-149:1, or Mr. Calise

claimed not to recall the specifics of the conversations, id. 144:11–146:2.

       After Mr. Calise’s deposition, WBD’s counsel sent an email attempting to obtain additional

documents referenced during the deposition, as well as additional deposition testimony from Mr.

Calise. Ex. 3 at 1–4. Plaintiff’s counsel refused to provide additional deposition time and did not

provide the requested additional Calise communications. Id. at 1–2. Mr. Calise testified to the

existence of internal documents and communications that responsive to Request 8 and are

materially relevant to a likelihood of consumer confusion inquiry in the trademark infringement

context. Calise cannot now claim that these documents do not exist.

   III. WBD Exhausted All Other Methods of Discovery.

       WBD attempted to obtain responsive documents from HomeVestors and to obtain the

information contained in those documents through depositions, but was unable to do so, leaving

enforcement of this subpoena as its sole recourse. Calise is the only entity that has provided

consistent marketing and public relations services to HomeVestors, and HomeVestors’ own

executives and employees were unable to testify as to HomeVestors’ marketing efforts and strategy.

By way of example, HomeVestors’ current and former CEOs repeatedly deferred to Calise when

asked any questions about HomeVestors’ marketing strategy or public relations, demonstrating that

the most relevant discovery in this case is not within Plaintiff’s custody or control. See Ex. 2,

Depo. Tr. of Lawrence Goodman 42:2–25, 47:16–48:4, 154:14–155:1, 197:22–198:5; Ex. 4, Depo.

Tr. of David Hicks 50:4–23, 53:22–54:12, 66:23–67:6, 80:19–23, 120:4–8, 174:22–175:11.


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       WBD has not received any of Calise’s internal documents about HomeVestors’ marketing

efforts and strategy, which will provide the most straightforward assessment of the strength of

HomeVestors’ brand, the nature of its target market, and its marketing channels, among other

topics. These are precisely the sort of issues that a trademark infringement case turns on, as they

are key factors in assessing whether consumers are likely to be confused. WBD’s lack of access

to Calise’s internal documents hamstrings WBD’s ability to refute HomeVestors’ claims.

Accordingly, as the only entity in possession of documents important to the resolution of this case,

Calise should be compelled to supply documents in accordance with WBD’s subpoena.

                                         CONCLUSION

       WBD respectfully requests that this Court grant WBD’s Motion and compel Calise to

comply with WBD’s third party subpoena.




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Dated: November 26, 2024                      Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       I hereby certify that on November 26, 2024, a true and correct copy of the foregoing was
served upon all counsel of record for all parties in accordance with the Federal Rules of Civil
Procedure.
                                              /s/ Scott Weatherford
                                              Scott Weatherford




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